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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                  )
 3SHAPE A/S,                                      )
                                                  )
                           Plaintiff,             )    C.A. No. 18-886-LPS-CJB
              v.                                  )
                                                  )
 ALIGN TECHNOLOGY, INC.,                          )
                                                  )
                           Defendant.             )

                              STIPULATION TO EXTEND TIME


       The parties hereby STIPULATE AND AGREE, subject to the approval of the Court, that:

       Align Technology, Inc. (“Align”) has provided 3Shape A/S (“3Shape”) with a proposal for

the counterclaim patents to which 3Shape needs time to respond. The date by which the parties are

required to submit an amended scheduling order as discussed at the February 10, 2020

teleconference (D.I. 89), therefore, shall be extended to March 27, 2020.


/s/ Geoffrey G. Grivner                               /s/ Jeff Castellano
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Dated: March 20, 2020


So ordered this ____ day of ____________, 2020,

                                    ______________________________
                                    United States District Judge
